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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

DYNAENERGETICS EUROPE GMBH, and                      )
DYNAENERGETICS US, INC.,                             )
                                                     )
       Plaintiffs,                                   )            Civil Action No: 6:20-cv-00069
                                                     )
       v.                                            )
                                                     )
HUNTING TITAN, INC.,                                 )             COMPLAINT
                                                     )      AND DEMAND FOR JURY TRIAL
       Defendant.                                    )
________________________________________             )



       Plaintiffs DynaEnergetics Europe GmbH and DynaEnergetics US, Inc. (collectively,

“DynaEnergetics”) file this Complaint for patent infringement against Defendant Hunting Titan,

Inc. (“Defendant”), and, in support thereof, allege as follows:

                                         THE PARTIES

       1.      Plaintiff DynaEnergetics Europe GmbH (“DynaEnergetics Europe”) is a

corporation organized under the laws of Germany, with its headquarters at Kaiserstrasse 3,

53840 Troisdorf, Germany.

       2.      Plaintiff DynaEnergetics US, Inc. (“DynaEnergetics US”) is a corporation

organized under the laws of the State of Colorado, with its headquarters at 2050 W. Sam

Houston Pkwy S., Suite 1750, Houston, TX 77042-3659.

       3.      Upon information and belief, Defendant Hunting Titan, Inc. is a Texas

corporation with a registered address of 11785 Highway 152, Pampa, Texas 79065. Defendant

Hunting Titan Inc. may be served with process by serving its registered agent at Corporation

Service Company d/b/a CSC-Lawyers Incorporating Service Company, 211 E. 7th Street, Suite

620, Austin, TX 78701-3136, or as otherwise authorized under applicable law.


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        4.     Upon information and belief, Defendant has regular and established places of

business throughout Texas and in this District, including at 224 Zander Lane, Pleasanton, Texas

78066 and at 11806 W CR 122, Odessa, Texas 79765.

                                JURISDICTION AND VENUE

        5.     This is an action for patent infringement under the Patent Laws of the United

States, 35 U.S.C. § 1 et seq., including 35 U.S.C. § 271.

        6.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a) because this action arises under the patent laws of the United States, including 35 U.S.C.

§ 1 et seq.

        7.     This court has personal jurisdiction over Defendant, and venue is proper in this

District, because Defendant has regular and established places of business located within this

District and because Defendant actively and regularly conducts business within the State of

Texas and within this District. Further, upon information and belief, infringement is occurring

within the State of Texas and this District through Defendant’s manufacture and distribution of

the “H-1TM Perforating Gun System” at its Texas manufacturing and distribution facilities, and

within the State of Texas and this District through Defendant’s sales of or offers to sell the H-

1TM Perforating Gun System.

        8.     Venue as to Defendant is thus proper in this judicial district under 28 U.S.C.

§§ 1391(b) and (c) and 1400(b).

                                             FACTS

        9.     DynaEnergetics is a leader in the field of well completion, perforating, well

abandonment, and seismic technologies. DynaEnergetics has a long history of technological




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innovation, including innovation in the manufacture of detonators, detonating cords, and

perforating hardware.

       10.    In connection with its research and development efforts, DynaEnergetics has

developed groundbreaking inventions for a wireless detonator assembly, a perforating gun

assembly, and methods of assembling the perforating gun assembly.         These inventions are

currently protected by multiple United States patents, including U.S. Patent No. 10,429,161 (the

“’161 Patent”), and U.S. Patent No. 10,472,938 (the “’938 Patent”).

       11.    The ’161 Patent, entitled “PERFORATION GUN COMPONENTS AND

SYSTEMS,” was duly and legally issued on October 1, 2019 to DynaEnergetics GmbH & Co.

KG (now DynaEnergetics Europe GmbH). A true and accurate copy of the ’161 Patent is

attached hereto and incorporated herein by reference as Exhibit A.

       12.    The ’938 Patent, entitled “PERFORATION GUN COMPONENTS AND

SYSTEM,” was duly and legally issued on November 12, 2019 to JDP Engineering and Machine

Inc. and DynaEnergetics GmbH & Co. KG (now DynaEnergetics Europe GmbH), which has

assigned any and all of its rights and interest to DynaEnergetics Europe GmbH. A true and

accurate copy of the ’938 Patent is attached hereto and incorporated herein by reference as

Exhibit B.

       13.    DynaEnergetics makes, distributes, offers to sell, and sells perforating gun

systems that practice the ’161 Patent and the ’938 Patent. DynaEnergetics Europe exclusively

licenses DynaEnergetics US to make, distribute, offer to sell, and sell perforating gun systems

that practice the ’161 Patent and the ’938 Patent in the United States. DynaEnergetics has

marked the covered products in accordance with 35 U.S.C. § 287.




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        14.      Defendant is a competitor of DynaEnergetics, including in the field of perforating

systems. Defendant has, upon information and belief, either alone or in concert, manufactured,

distributed, sold, or offered to sell the Hunting Titan H-1TM Perforating Gun System in the

United States, including within the State of Texas and within this District.

        15.      Upon information and belief, the H-1TM Perforating Gun System infringes one or

more claims of the ’161 Patent, including at least Claim 20, as set forth in the claim chart

attached hereto and incorporated herein by reference as Exhibit C. 1

        16.      Upon information and belief, the H-1TM Perforating Gun System infringes one or

more claims of the ’938 Patent, including at least Claim 1, as set forth in the claim chart attached

hereto and incorporated herein by reference as Exhibit D.

        17.      Upon information and belief, Defendant has known of the ’161 Patent, the ’938

Patent, and its own infringing activities since at least as early as the filing of this complaint.

        18.      Because Defendant is using infringing technology to compete directly with

DynaEnergetics, it is causing irreparable harm to DynaEnergetics, thereby forcing

DynaEnergetics to bring this lawsuit to protect its intellectual property.

                     COUNT I – INFRINGEMENT OF THE ’161 PATENT

        19.      DynaEnergetics repeats and incorporates by reference the allegations contained in

the foregoing paragraphs, as if stated fully herein.

        20.      DynaEnergetics is the owner of the ’161 Patent, with all substantive rights in and

to that patent, including the sole and exclusive right to prosecute this action and enforce the ’161

Patent against infringers, and to collect damages for all relevant times.


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  The claim charts attached as Exhibits C and D are preliminary and based on publicly available information.
DynaEnergetics reserves all rights to amend, supplement, or modify these charts under the Local Rules of this Court
and the Federal Rules of Civil Procedure, particularly in view of information DynaEnergetics obtains through fact
and expert discovery.


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        21.    Defendant has, either alone or in concert, directly infringed and continues to

infringe the ’161 Patent, either literally or through the doctrine of equivalents, by making, using,

importing, supplying, distributing, selling and/or offering for sale the H-1TM Perforating Gun

System within the United States, in violation of 35 U.S.C. § 271(a).

        22.    Upon information and belief, Defendant has made and is continuing to make

unlawful gains and profits from its infringement of the ’161 Patent.

        23.    At least as early as the filing of this complaint, Defendant has been on notice of,

and has had knowledge of, the ’161 Patent and of DynaEnergetics’ allegations of infringement.

Defendant’s infringement of the ’161 Patent has been willful and deliberate at least since this

date.

        24.    DynaEnergetics has been damaged and irreparably harmed by Defendant’s

infringement of the ’161 Patent for which DynaEnergetics is entitled to relief under 35 U.S.C.

§ 284. DynaEnergetics will continue to suffer damages and irreparable harm unless Defendant is

enjoined preliminarily and permanently by this Court from continuing its infringement.

                  COUNT II – INFRINGEMENT OF THE ’938 PATENT

        25.     DynaEnergetics repeats and incorporates by reference the allegations contained

in the foregoing paragraphs, as if stated fully herein.

        26.    DynaEnergetics is the owner of the ’938 Patent, with all substantive rights in and

to that patent, including the sole and exclusive right to prosecute this action and enforce the ’938

Patent against infringers, and to collect damages for all relevant times.

        27.    Defendant has, either alone or in concert, directly infringed and continues to

infringe the ’938 Patent, either literally or through the doctrine of equivalents, by making, using,




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importing, supplying, distributing, selling and/or offering for sale the H-1TM Perforating Gun

System within the United States, in violation of 35 U.S.C. § 271(a).

        28.     Upon information and belief, Defendant has made and is continuing to make

unlawful gains and profits from its infringement of the ’938 Patent.

        29.     At least as early as the filing of this complaint, Defendant has been on notice of,

and has had knowledge of, the ’938 Patent and of DynaEnergetics’ allegations of infringement.

Defendant’s infringement of the ’938 Patent has been willful and deliberate at least since this

date.

        30.     DynaEnergetics has been damaged and irreparably harmed by Defendant’s

infringement of the ’938 Patent for which DynaEnergetics is entitled to relief under 35 U.S.C.

§ 284. DynaEnergetics will continue to suffer damages and irreparable harm unless Defendant is

enjoined preliminarily and permanently by this Court from continuing its infringement.

                                       ATTORNEYS’ FEES

        31.     Pursuant to 35 U.S.C. § 285, DynaEnergetics is entitled to and hereby demands its

reasonable attorneys’ fees in this case.

                                           JURY DEMAND

        32.     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, DynaEnergetics

respectfully requests a trial by jury of any issues so triable.

                                      PRAYER FOR RELIEF

        WHEREFORE, DynaEnergetics respectfully asks that the Court issue citation for

Defendant to appear and answer and seeks the following additional relief:

          A.    that Defendant be declared to have directly infringed one or more of the claims of

the ’161 Patent under 35 U.S.C. § 271(a);




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         B.    that Defendant be declared to have directly infringed one or more of the claims of

the ’938 Patent under 35 U.S.C. § 271(a);

         C.    that the Court issue a preliminary and permanent injunction pursuant to 35 U.S.C.

§ 283 against the continuing infringements of the claims of the ’161 Patent by Defendant, its

officers, agents, employees, attorneys, representatives, and all others acting in concert therewith;

         D.    that the Court issue a preliminary and permanent injunction pursuant to 35 U.S.C.

§ 283 against the continuing infringements of the claims of the ’938 Patent by Defendant, its

officers, agents, employees, attorneys, representatives, and all others acting in concert therewith;

         E.    that the Court order an accounting for all monies received by or on behalf of

Defendant and all damages sustained by DynaEnergetics as a result of Defendant’s

aforementioned infringements, that such monies and damages be awarded to DynaEnergetics,

and that interest and costs be assessed against Defendant pursuant to 35 U.S.C. § 284;

         F.    that the Court declare that Defendant’s infringement was and is willful from the

time it became aware of the infringing nature of their product and award treble damages for the

period of such willful infringement of the ’161 Patent, pursuant to 35 U.S.C. § 284;

         G.    that the Court declare that Defendant’s infringement was and is willful from the

time it became aware of the infringing nature of their product and award treble damages for the

period of such willful infringement of the ’938 Patent, pursuant to 35 U.S.C. § 284;

         H.    that the Court declare this an exceptional case and order that Defendant pay to

DynaEnergetics its reasonable attorneys’ fees and costs, pursuant to 35 U.S.C. § 285; and

         I.    that the Court award such further and other relief to DynaEnergetics as the Court

deems just, together with its costs and disbursements in this action.




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Dated: January 30, 2020                    Respectfully submitted,

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